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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           EASTERN DISTRICT OF VIRGINIA
                                  Alexandria Division


 RICARDO SIMONS,

                Movant,

        V-                                                    No. l:16-cv-764(LMB)
                                                              Crim. No. l:14-cr-122-l (LMB)
 UNITED STATES OF AMERICA,

                Respondent.

                                  MEMORANDUM OPINION


       Before the Court is Ricardo Simons's("Simons" or "movant") Motion to Vacate

Conviction under 28 U.S.C. § 2255("Motion to Vacate"), in which he argues that his conviction

under Count 1 for violating 18 U.S.C. § 924(c) must be vacated in light of recent Supreme Court

precedent. For the reasons stated below, Simons's Motion to Vacate will be dismissed.'

                                                I.


       On January 16,2014, Virginia law enforcement authorities arrested Simons in connection

with his activities as a member ofthe Nine Trey Gangsters("NTG"), which is a criminal street

gang and a subset of the United Blood Nation gang.[Dkt. No. 12]. Specifically, he was charged

in Fairfax County General District Court with malicious wounding in violation of Va. Code

§ 18.2-51; use of a firearm in the commission of a felony in violation of Va. Code § 18.2-53.1;

and criminal street gang participation in violation of Va. Code § 18.2-46.2. Id ^ 42. All of these

violations were alleged to have occurred on May 3,2013. Id ^ 42. On April 8,2014, a writ of

habeas corpus ad prosequendum was issued by this court, which commanded the state authorities




 Simons has been represented by counsel throughout this proceeding.
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